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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

        Plaintiff,
               v.                                   Civil Action No. 20-3590 (JEB)


 FACEBOOK, INC.,

        Defendant.


                                          ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. Facebook’s Motion to Dismiss is GRANTED;

      2. Plaintiff’s Complaint is DISMISSED WITHOUT PREJUDICE; and

      3. Plaintiff shall file any amended Complaint by July 29, 2021.



                                                         /s/ James E. Boasberg
                                                         JAMES E. BOASBERG
                                                         United States District Judge
Date: June 28, 2021




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